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        EXHIBIT 1
                         Case 20-10343-LSS              Doc 1279-1          Filed 09/08/20          Page 2 of 9


Goodman, Eric R.

From:                   Kirschenbaum, Andrew <akirschenbaum@omm.com>
Sent:                   Friday, September 4, 2020 4:27 PM
To:                     James Stang; Rob Orgel; John A. Morris; John W. Lucas; Linda Cantor; 'joneill@pszjlaw.com'; Mason,
                        Richard G.; Mayer, Douglas K.; Celentino, Joseph C.; Ringer, Rachael; Sharret, Jennifer; Wasson,
                        Megan; Harron, Edwin; Zieg, Sharon; bmccullough@bodellbove.com; bruce.celebrezze@clydeco.us;
                        Taylor.Meehan@clydeco.us; Gummow, Susan; Shleypak, Igor; Smethurst, Ryan; Warner, Margaret;
                        msorem@nicolaidesllp.com; Schiavoni, Tancred; Kirschenbaum, Andrew; Wadley, Chris;
                        'stamoulis@swdelaw.com'; Ruggeri, James P.; Williams, Abigail W.; Weinberg, Joshua D.; Gooding,
                        Doug; Marshall, Jonathan D.; 'KMarrkand@mintz.com'; TJacobs@bradleyriley.com; John E. Bucheit;
                        David M. Caves; Winsberg, Harris B.; Lorraine Armenti; Strubeck, Louis; 'Gluck, Kristian W.'; Smith,
                        Laura; Brady, Robert; Mielke, Allison S.; Kochenash, Jared W.; mhrinewski@coughlinduffy.com;
                        craig.goldblatt@wilmerhale.com; Seligman, Gary; Criss, Ashley; Beville, Sunni P.; Axelrod, Tristan G.;
                        support@ava.law; Tim@Kosnoff.Com; Molton, David J.; Boelter, Jessica C.K.; Andolina, Michael C.;
                        Labuda, Jr., Thomas; DAbbott@mnat.com; Martin, Ernest; Azer, Adrian; Tarr@BlankRome.com;
                        david.l.buchbinder@usdoj.gov; hannah.mccollum@usdoj.gov
Cc:                     Schiavoni, Tancred; Stamatios Stamoulis
Subject:                Notice of Deposition of Timothy Kosnoff
Attachments:            BSA_Deposition_Notice_for_Timothy Kosnoff.pdf


External E-mail. Use caution accessing links or attachments.

Please see the attached deposition notice for Mr. Kosnoff on Tuesday, Sept. 8, 2020 at 3:00 p.m. ET.

O’Melveny
Andrew L. Kirschenbaum
Associate
akirschenbaum@omm.com
O: +1-212-728-5878

O’Melveny & Myers LLP
Times Square Tower
7 Times Square
New York, NY 10036
Website | LinkedIn | Twitter
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                                                                      1
               Case 20-10343-LSS           Doc 1279-1       Filed 09/08/20      Page 3 of 9




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


    In re:                                            Chapter 11

                                                      Case No. 20-10343 (LSS)

    BOY SCOUTS OF AMERICA AND                         Jointly Administered
    DELAWARE Boy Scouts, LLC, 1


                                Debtors.


                       NOTICE OF ORAL DEPOSITION PURSUANT TO
                       FEDERAL RULE OF CIVIL PROCEDURE 30(b)(1)

             PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of

     Civil Procedure (the “Federal Rules”), made applicable in bankruptcy cases pursuant to Rule

     7030 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rules 30.1,

     30.2, 30.3, 30.4, 30.5, and 30.6 of the Local Rules of Civil Practice and Procedure of the

     United States District Court for the District of Delaware (the “Local District Rules”), and

     Rule 7031-1 of the Local Rules for the United States Bankruptcy Court District of Delaware

     (the “Local Bankruptcy Rules”), Century Indemnity Company, as successor to CCI Insurance

     Company, as successor to Insurance Company of North America and Indemnity Insurance

     Company of North America, Westchester Fire Insurance Company and Westchester Surplus

     Lines Insurance Company (“Century”), by and through its undersigned counsel, will take the

     deposition upon oral examination of Timothy Kosnoff (“Kosnoff”).




1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300) and Delaware Boy Scouts, LLC
      (4311). The Debtors’ mailing address is 1325 West Walnut Lane, Irving, Texas 75038.
          Case 20-10343-LSS         Doc 1279-1      Filed 09/08/20     Page 4 of 9




       PLEASE TAKE FURTHER NOTICE that depositions shall take place before an

officer authorized by law to administer oaths, via virtual platform at the designated time and

place and to produce documents called for in association therewith, as agreed to by the parties,

and continuing thereafter until completed:

     DATE:                September 8, 2020
     TIME:                3:00 p.m. EST
     ACCESS LINK:
     https://omm.zoom.us/j/91449472496?pwd=UmZ0eWV4UHBwNGU5ZVdXTmh1dVlSU
     T09
     CALL IN:             (877) 853-5257
     MEETING ID:           914 4947 2496
     PASSCODE:             153985

The deposition will take place before a person duly authorized to administer oaths, and may be

recorded by stenographic, audiographic and videotaped means. Please take notice that the

court reporter may also participate remotely via the internet and/or telephone for the purposes

of reporting the proceeding and may or may not be in the presence of the deponent. The

deposition shall continue from day-to-day (Saturdays, Sundays, and holidays excluded), or as

otherwise agreed by the parties, until completed.
           Case 20-10343-LSS   Doc 1279-1    Filed 09/08/20      Page 5 of 9




Dated: September 4, 2020
New York, New York

                                       Respectfully Submitted,


                                 By:    /s/ Stamatios Stamoulis
                                       Stamatios Stamoulis (#4606)

                                       STAMOULIS & WEINBLATT LLC
                                       800 N. West Street
                                       Third Floor
                                       Wilmington, Delaware 19801
                                       Telephone: 302 999 1540
                                       Facsimile: 302 762 1688

                                       O’MELVENY & MYERS LLP
                                       Tancred Schiavoni (pro hac vice)
                                       Janine Panchok-Berry (pro hac vice)
                                       Times Square Tower
                                       7 Times Square
                                       New York, New York 10036-6537
                                       Telephone: 212 326 2000
                                       Facsimile: 212 326 2061

                                       Counsel for Century Indemnity Company, as
                                       successor to CCI Insurance Company, as
                                       successor to Insurance Company of North
                                       America and Indemnity Insurance Company of
                                       North America, Westchester Fire Insurance
                                       Company and Westchester Surplus Lines
                                       Insurance Company
                         Case 20-10343-LSS              Doc 1279-1          Filed 09/08/20          Page 6 of 9


Goodman, Eric R.

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Sent:                   Friday, September 4, 2020 4:27 PM
To:                     James Stang; Rob Orgel; John A. Morris; John W. Lucas; Linda Cantor; 'joneill@pszjlaw.com'; Mason,
                        Richard G.; Mayer, Douglas K.; Celentino, Joseph C.; Ringer, Rachael; Sharret, Jennifer; Wasson,
                        Megan; Harron, Edwin; Zieg, Sharon; bmccullough@bodellbove.com; bruce.celebrezze@clydeco.us;
                        Taylor.Meehan@clydeco.us; Gummow, Susan; Shleypak, Igor; Smethurst, Ryan; Warner, Margaret;
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                        'stamoulis@swdelaw.com'; Ruggeri, James P.; Williams, Abigail W.; Weinberg, Joshua D.; Gooding,
                        Doug; Marshall, Jonathan D.; 'KMarrkand@mintz.com'; TJacobs@bradleyriley.com; John E. Bucheit;
                        David M. Caves; Winsberg, Harris B.; Lorraine Armenti; Strubeck, Louis; 'Gluck, Kristian W.'; Smith,
                        Laura; Brady, Robert; Mielke, Allison S.; Kochenash, Jared W.; mhrinewski@coughlinduffy.com;
                        craig.goldblatt@wilmerhale.com; Seligman, Gary; Criss, Ashley; Beville, Sunni P.; Axelrod, Tristan G.;
                        support@ava.law; Tim@Kosnoff.Com; Molton, David J.; Boelter, Jessica C.K.; Andolina, Michael C.;
                        Labuda, Jr., Thomas; DAbbott@mnat.com; Martin, Ernest; Azer, Adrian; Tarr@BlankRome.com;
                        david.l.buchbinder@usdoj.gov; hannah.mccollum@usdoj.gov
Cc:                     Schiavoni, Tancred; Stamatios Stamoulis
Subject:                Notice of Deposition of Andrew Van Arsdale
Attachments:            BSA_Deposition_Notice_for_Andrew_Van_Arsdale.pdf


External E-mail. Use caution accessing links or attachments.

Please see the attached deposition notice for Mr. Van Arsdale on Tuesday, Sept. 8, 2020 at 1:00 p.m. ET.

O’Melveny
Andrew L. Kirschenbaum
Associate
akirschenbaum@omm.com
O: +1-212-728-5878

O’Melveny & Myers LLP
Times Square Tower
7 Times Square
New York, NY 10036
Website | LinkedIn | Twitter
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                                                                      1
               Case 20-10343-LSS           Doc 1279-1       Filed 09/08/20      Page 7 of 9




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


    In re:                                            Chapter 11

                                                      Case No. 20-10343 (LSS)

    BOY SCOUTS OF AMERICA AND                         Jointly Administered
    DELAWARE Boy Scouts, LLC, 1


                                Debtors.


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     Company, as successor to Insurance Company of North America and Indemnity Insurance

     Company of North America, Westchester Fire Insurance Company and Westchester Surplus

     Lines Insurance Company (“Century”), by and through its undersigned counsel, will take the

     deposition upon oral examination of Andrew Van Arsdale (“Van Arsdale”).




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          Case 20-10343-LSS         Doc 1279-1      Filed 09/08/20     Page 8 of 9




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place and to produce documents called for in association therewith, as agreed to by the parties,

and continuing thereafter until completed:

     DATE:                September 8, 2020
     TIME:                1:00 p.m. EST
     ACCESS LINK:
     https://omm.zoom.us/j/91449472496?pwd=UmZ0eWV4UHBwNGU5ZVdXTmh1dVlSU
     T09
     CALL IN:             (877) 853-5257
     MEETING ID:           914 4947 2496
     PASSCODE:             153985

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           Case 20-10343-LSS   Doc 1279-1    Filed 09/08/20      Page 9 of 9




Dated: September 4, 2020
New York, New York

                                       Respectfully Submitted,


                                 By:    /s/ Stamatios Stamoulis
                                       Stamatios Stamoulis (#4606)

                                       STAMOULIS & WEINBLATT LLC
                                       800 N. West Street
                                       Third Floor
                                       Wilmington, Delaware 19801
                                       Telephone: 302 999 1540
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                                       O’MELVENY & MYERS LLP
                                       Tancred Schiavoni (pro hac vice)
                                       Janine Panchok-Berry (pro hac vice)
                                       Times Square Tower
                                       7 Times Square
                                       New York, New York 10036-6537
                                       Telephone: 212 326 2000
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                                       Counsel for Century Indemnity Company, as
                                       successor to CCI Insurance Company, as
                                       successor to Insurance Company of North
                                       America and Indemnity Insurance Company of
                                       North America, Westchester Fire Insurance
                                       Company and Westchester Surplus Lines
                                       Insurance Company
